      Case: 1:17-cv-02756 Document #: 15 Filed: 05/26/17 Page 1 of 2 PageID #:141



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

TAMMY JO LONG, an Illinois Resident, and            )      17-CV-2756
LUXURY PROPERTIES, LLC                              )
                                                    )
                      Plaintiffs,                   )      Hon. Jorge L. Alonso
                                                    )
v.                                                  )
                                                    )
BANK OF AMERICA, N.A.,                              )
                                                    )
                      Defendant.                    )

     DEFENDANT BANK OF AMERICA, N.A.’S MOTION TO DISMISS COMPLAINT

        Defendant Bank of America, N.A. (“BANA”), through its attorneys, respectfully requests

that the Court dismiss, pursuant to Fed. R. Civ. P. 12(b)(6), the Complaint (“Complaint”) filed

by Plaintiffs Tammy Jo Long and Luxury Properties, LLC (“Plaintiffs”), and in support states as

follows:

            1. Plaintiffs’ Complaint fails to state a cause of action upon which relief may be

               granted and should, therefore, be dismissed in its entirety with prejudice pursuant

               to Fed. R. Civ. P. 12(b)(6);

            2. Support for this request is set forth in BANA’s proposed Memorandum of Law

               attached to its Motion for Leave to File Brief in Excess Pages filed

               contemporaneously herewith.
    Case: 1:17-cv-02756 Document #: 15 Filed: 05/26/17 Page 2 of 2 PageID #:142



Dated: May 26, 2017                   Respectfully submitted,

                                      BANK OF AMERICA, N.A.

                                      /s/ David F. Pustilnik
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